     Case 2:18-cv-00982-KJM-CKD Document 19 Filed 08/21/18 Page 1 of 5

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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11                                                      No. 2:18-CV-00982-KJM-CKD
      JOHN J. FUERY,
12
                         Plaintiff,
13                                                      ORDER
             v.
14
      MARK CHERRY, et al.,
15
                         Defendants.
16

17                  Among other defendants, plaintiff John Joseph Fuery sues Sacramento County

18   Superior Court Judges John Winn, Laurel White and Michael Savage, Court Commissioner

19   Phillip Stanger and Court Clerk Trevor Shaddox (“defendants”) for alleged due process violations

20   under the Fifth and Fourteenth Amendments and for violations of the Americans with Disabilities

21   Act (“ADA”) and 29 U.S.C. § 794 (“Rehabilitation Act”). Compl., ECF. No. 1; Compl. Exs. A-

22   E1 (“Allegations”) at 1, ECF No. 1-1. Defendants move to dismiss with prejudice and without

23   leave to amend. Mot., ECF No. 6-1. Fuery did not file an opposition, and defendants filed a

24   reply noting as much. Reply, ECF No. 17. As explained below, defendants’ motion to dismiss is

25   GRANTED with prejudice.

26   I.   BACKGROUND

27                  In considering this motion, the court takes the following allegations as true.

28   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). Fuery, a pro se litigant, sues
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     Case 2:18-cv-00982-KJM-CKD Document 19 Filed 08/21/18 Page 2 of 5

 1   defendants under 42 U.S.C. § 1983, which provides “[e]very person who, under color of any
 2   [state law] . . . subjects, or causes to be subjected” a U.S. citizen or person within U.S.
 3   jurisdiction “to the deprivation of any rights, privileges, or immunities secured by the
 4   Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or
 5   other proper proceeding for redress.” See Compl. at 3 (asserting violations of due process under
 6   the Fifth and Fourteenth Amendments as a § 1983 claim and violations under ADA); Allegations
 7   at 1, 3. Fuery alleges several constitutional and statutory violations in his complaint, filed March
 8   18, 2018, all of which stem from his work as a criminal defense attorney and from criminal legal
 9   actions taken against him.
10                  Defendant Judges Winn, White and Savage, Commissioner Stanger and Court
11   Clerk Shaddox move to dismiss, arguing all claims are barred by judicial and quasi-judicial
12   immunity because each defendant was working in their judicial capacities or as officers of the
13   court in taking the actions plaintiff challenges in his complaint. Mot. at 2. Defendants also argue
14   that Fuery fails to allege sufficient facts to support cognizable claims for the ADA and
15   Rehabilitation Act violations because Fuery asserts discrimination in connection with his self-
16   representation in criminal actions, not for his disabilities. Id. Defendants contend Fuery “cannot
17   cure these defects” and request the court dismiss the complaint against these defendants with
18   prejudice and without leave to amend. Id. Fuery did not file an opposition, and as noted
19   defendants filed a reply observing plaintiff had not opposed their motion. Reply at 1.
20   II.    LEGAL STANDARDS
21                  A party may move to dismiss a complaint against it for “failure to state a claim
22   upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). The motion may be granted only if
23   the movant can show the complaint lacks a “cognizable legal theory” or if its factual allegations
24   do not support a cognizable legal theory. Hartmann v. Cal. Dep’t of Corr. & Rehab., 707 F.3d
25   1114, 1122 (9th Cir. 2013). Determining whether a complaint will survive a motion to dismiss is
26   a “context-specific task that requires the reviewing court to draw on its judicial experience and
27   common sense.” Iqbal, 556 U.S. at 679. The court must construe the complaint in a light most
28   favorable to a plaintiff and accept as true its factual allegations. Erickson v. Pardus, 551 U.S. 89,
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     Case 2:18-cv-00982-KJM-CKD Document 19 Filed 08/21/18 Page 3 of 5

 1   93-94 (2007). Should a court grant a motion to dismiss, that court may allow the plaintiff leave to
 2   amend “when a viable case may be presented.” Lipton v. Pathogenesis Corp., 284 F.3d 1027,
 3   1039 (9th Cir. 2002). But leave to amend would be futile where no amendment could cure the
 4   deficiency presented. Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058
 5   (9th Cir. 2011); see also Middleton v. Martingale Investments, LLC, 621 F. App’x 396, 397 (9th
 6   Cir. 2015) (finding that the district court properly denied leave to amend for futility because
 7   judicial immunity applied). Where the movant demonstrates by factual allegations in a complaint
 8   that a claim is legally barred by judicial and quasi-judicial immunity, a motion to dismiss may be
 9   granted without leave to amend. See Mullis v. U.S. Bankr. Court for Dist. of Nevada, 828 F.2d
10   1385, 1387-88, 1395 (9th Cir. 1987); Sharma v. Stevas, 790 F.2d 1486, 1486 (9th Cir. 1986).
11   III.   ANALYSIS
12          A.      Judicial Immunity
13                  Defendant Judges Winn, White and Savage are entitled to judicial immunity
14   against any constitutional claims filed under 42 U.S.C. § 1983. “It is well settled that judges are
15   generally immune from civil liability under [§ 1983].” Meek, 183 F.3d at 965 (citing Mireles v.
16   Waco, 502 U.S. 9, 9-10 (1991) (per curiam)). The Supreme Court has explained this immunity by
17   reasoning that “a judicial officer, in exercising the authority vested in him, shall be free to act
18   upon his own convictions, without apprehension of personal consequences to himself.” Bradley
19   v. Fisher, 80 U.S. 335, 347 (1871). A judge’s errors should be corrected on appeal, not by
20   subsequent civil litigation because civil liability “would contribute not to principled and fearless
21   decisionmaking but to intimidation.” Pierson v. Ray, 386 U.S. 547, 554 (1967); In re Thomas,
22   508 F.3d 1225, 1227 (9th Cir. 2007) (per curiam). Indeed, judicial immunity is so firmly
23   grounded in our jurisprudence that it cannot be defeated by procedural error or malicious, biased
24   or controversial actions. Mireles, 502 U.S. at 11 (malicious action does not defeat judicial
25   immunity); Stump v. Sparkman, 435 U.S. 349, 359, 363-64 (1978) (procedural error does not
26   defeat judicial immunity); Ashelman v. Pope, 793 F.2d 1072, 1078 (9th Cir. 1986) (en banc)
27   (conspiracy and bribery do not defeat judicial immunity); Lopez v. Vanderwater, 620 F.2d 1229,
28   1234 (7th Cir. 1980) (prejudice does not defeat judicial immunity). Nonetheless, there are two
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     Case 2:18-cv-00982-KJM-CKD Document 19 Filed 08/21/18 Page 4 of 5

 1   exceptions to judicial immunity: (1) allegations arising from “actions not taken in the judge’s
 2   judicial capacity,” and (2) judicial actions taken “in the complete absence of all jurisdiction.”
 3   Mireles, 502 U.S. at 11-12; In re Complaint of Judicial Misconduct, 366 F.3d 963, 965 (9th Cir.
 4   2004). A judge acting in “excess of his jurisdiction” still receives immunity “so long as the acts
 5   themselves were judicial.” Rosenthal v. Justices of the Supreme Ct. of Cal., 910 F.2d 561, 565-66
 6   (9th Cir. 1990) (citing Stump, 435 U.S. at 355-57, and Bradley, 80 U.S. at 351). Judicial
 7   immunity is extended to most statutory violation claims brought against judges, including those
 8   based on the ADA and Rehabilitation Act. See, e.g., Phiffer v. Oregon, 586 F. App’x 425 (9th
 9   Cir. 2014); Duvall v. Cty. of Kitsap, 260 F.3d 1124, 1133 (9th Cir. 2001), as amended on denial
10   of reh’g (Oct. 11, 2001).
11                  As indicated by Fuery’s complaint, all judges named as defendants operated within
12   their judicial capacities and with jurisdiction when performing alleged acts. Rosenthal, 910 F.2d
13   at 565-66; Allegations at 3-5; Mot. at 2. Fuery’s allegations against Judge Winn stem from two
14   misdemeanor cases against Fuery adjudicated by Judge Winn. Allegations at 3. Allegations
15   against Judge White arise from her judicial role in a criminal case against another party, in which
16   Fuery attempted to become a substitute attorney. Id. at 4, 10. Fuery alleges Judge Savage
17   violated Fuery’s constitutional rights during adjudication of a criminal case in which Fuery was
18   scheduled as a prosecution witness. Id. at 5, 11. Fuery’s complaint confirms the alleged
19   violations occurred when these judges were performing their core judicial duties while exercising
20   the jurisdiction attendant their offices. Defendants Judges Winn, White and Savage are protected
21   by absolute immunity in the face of all of plaintiff’s claims.
22          B.      Quasi-Judicial Immunity
23                  Quasi-judicial immunity applies to the defendants here who are not judges, namely
24   Commissioner Stanger and Court Clerk Shaddox. “Judicial immunity is not limited to judges. It
25   extends to other government officials who play an integral part in the implementation of the
26   judicial function. Such officials enjoy derivative immunity (quasi-judicial immunity) which can
27   be absolute if their conduct relates to a core judicial function.” Antoine v. Byers & Anderson,
28   Inc., 950 F.2d 1471, 1474 (9th Cir. 1991), rev’d on other grounds, 508 U.S. 429 (1993); see also
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     Case 2:18-cv-00982-KJM-CKD Document 19 Filed 08/21/18 Page 5 of 5

 1   Burton v. Infinity Capital Mgmt., 862 F.3d 740, 748 (9th Cir. 2017); Curry v. Castillo (In re
 2   Castillo), 297 F.3d 940, 948-49 (9th Cir. 2002). Courts afford quasi-judicial immunity to court
 3   clerks and commissioners acting in their professional capacity because both “‘exercise
 4   discretionary judgment’ as a part of their function” similarly to a judge, supporting the “long-
 5   settled understanding that the independent and impartial exercise of judgment vital to the
 6   judiciary might be impaired by exposure to potential damages liability.” Antoine v. Byers &
 7   Anderson, Inc., 508 U.S. 429, 435 (1993) (citations omitted); see also Antoine, 950 F.2d at 1474-
 8   75 (citation omitted). Fuery’s allegations against Stanger originate from one of Fuery’s
 9   misdemeanor cases, which Stanger adjudicated. Allegations at 3, 27. Allegations against
10   Shaddox arise from two of Fuery’s misdemeanor cases in which Shaddox performed his duties as
11   the court clerk. Allegations at 4, 11, 23. Stanger and Shaddox acted in their capacity as officers
12   of the court and exercised discretion within those capacities as part of the core judicial function of
13   adjudication; Fuery’s complaint itself confirms this. Allegations at 3-4, 11, 23, 27. Stanger and
14   Shaddox therefore are shielded by absolute immunity from all plaintiff’s claims.
15                  Defendants further argue that Fuery’s complaint “fails to allege” sufficient facts
16   showing alleged discrimination arose from his disabilities. Mot. at 9-10. The court need not and
17   does not reach this argument.
18   IV.    CONCLUSION
19                  Fuery’s complaint against defendants Judge John Winn, Judge Laurel White,
20   Judge Michael Savage, Court Commissioner Phillip Stanger and Court Clerk Trevor Shaddox is
21   DISMISSED because these defendants are protected by judicial and quasi-judicial immunity.
22   The motion to dismiss is GRANTED with prejudice and without leave to amend because
23   amendment would be futile. Middleton, 621 F. App’x at 397; Cafasso, 637 F.3d at 1058;
24   Ashelman, 793 F.2d at 1075.
25                  This resolves ECF No. 6.
26                  IT IS SO ORDERED.
27   DATED: August 20, 2018.
28
                                                        5     UNITED STATES DISTRICT JUDGE
